Case 1:05-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 1 of 25

 

DISTRICT COURT, CITY & COUNTY OF DENVER,
STATE OF COLORADO

Court Address: 1437 Bannock Street, Rm 256
Denver, Colorado 80202

Phone Number: 720.865.8301

 

Plaintiff(s):
U.S. Fax Law Center, Inc., a Colorado Corporation

V.

Defendant(s):
U.S. Bank National Association; John Does #1-100; and
lane D°es #1'100' A coURr USE oNLY A

Attorney or Party Without Attorney: Case NO-

 

Andrew L. Quiat Dlv': Ctrm~i
The Law Offices of Andrew L. Quiat, P.C.
8200 So. Quebec Street, Suite A-3304
Centennial, Colorado 80112

Phone Number: 303.471.8558

Atty. Reg. #: 1286

CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEAD]NG OF COl\/[PLA]NT

 

 

 

 

 

l. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim,
cross- -claim or third party complaint in every district court civil (CV) case. It shall not be filed
in Domestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, JV), or Mental
Health (MH) cases.

2. Check the boxes applicable to this case.

El Simpliiied Procedure under C.R.C.P. 16.1 applies to this case because this party does not
seek a monetary judgment 1n excess of $100, 000 00 against another party, including any
attorney fees, penalties or punitive damages but excluding interest and costs and because
this case is not a class action or forcible entry and detainer, Rule 106, Rule 120, or other
expedited proceeding

Simplified Procedure under C. R. C. P 16.1, does not apply to this case because (check one
box below identifying Why 16. l does not apply):

l Exhibit 1

Notice of Removal
of Action

 

Case 1:05-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 2 of 25

El This is a class action or forcible entry and detainer, Rule 106, Rule 120, or other similar
expedited proceeding, or

;£ This party is seeking a monetary judgment for more than $100,000.00 against another
party, including any attorney fees, penalties or punitive damages, but excluding interest
and costs (see C.R.C.P. l6.l(c)), or

Cl Another party has previously stated in its cover sheet that C.R.C.P. l6.l does not apply
to this case.

3. |;l This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P. 38.
(Checking this box is optional.)

Date: (/)A(»IM/Wl army

 

Signatfu=e/of lsdty ovj/Attorney for Party

 

NOTICE

‘/ This cover sheet must be filed in all District Court Civil (CV) Cases. Failure to file this cover sheet is not a jurisdictional
defect in the pleading but may result in a clerk’s show cause order requiring its filing.

This cover sheet must be served 011 all other parties along with the initial pleading of a complaint, counterclaim, cross-claim, or
third party complaint.
This cover sheet shall not be considered a pleading for purposes of C.R.C.P. ll.

 

 

 

/

Case 1:05-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 3 of 25

l
2

 

DISTRICT COURT, CITY & COUNTY OF DENVER,
STATE OF COLORADO

Court Address: 1437 Bannock Street, Rm 256
Denver, Colorado 80202

Phone Number; 720.865.8301

 

Plaintiff(s): `
U.S. Fax Law Center, Inc., a Colorado Corporation

V.

Defendant(s): '
U.S. Bank National Association, John Does #1-100; and lane
Does #l -100.

A CoURT USE oNLY A`

 

Attorney or Party Without Attorney: Case NO':
Andrew L. Quiat Div: Crtnn:
The Law Offices ofAndrew L. Quiat, P.C.

8200 So. Quebec Street, Suite A-3304
Centenm'al, Colorado 80112

Phone Number: 303.471.8558

Atty. Reg. #: 1286

 

 

COMPLAINT

 

 

 

PLA]I\lTIFF, for its Complaint against the above-named Defendants, states and alleges as
follows:
I. PARTIES
1.1 U.S. Fax Law Center, Inc. (“USFLC”) is a Colorado L Corporation, and an assignee
of Jaywell Enterprises, Inc. d/b/a Wall Street Executive Suites, (“Jaywell
Enterprises”).
l.2 Defendant U.S. Bank National Association (“US Bank”), is a company organized

and existing under the laws of Colorado, with its principal Colorado place of

Case 1:05-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 4 of 25

,./'

!
_/

business located at 918 17th Street, Denver, CO 80202, and elsewhere in Denver,
Colorado, and who sends unsolicited faxes into and/or within the State of Colorado.

1.3 John Doe and Jane Doe Defendants #1-100 respectively are currently unknown
individuals, corporations, L.L.C.’s or other statutory or de-facto entities that have
either sent, or caused to be sent, to the Plaintiff’s Assignor unsolicited fax
advertisements in violation of Federal law and/or the Colorado Consumer
'Protection Act, or have been or are commercial “fax blasters,” or are jointly liable
spouses of individual,Defendants domiciled in community property state(s).

II. JURISDICTION AND VENUE

2.l Jurisdiction is proper in this court pursuant to the Constitution of the State of
Colorado which provides that the District Court shall be the trial court of record
with general jurisdiction and shall have original jurisdiction of all civil cases,
except as otherwise provided by statute, and shall have such jurisdiction as may be
prescribed by law (Colo. Const. Art. VI § 9).

2.2 47 USC § 227(b)(3) of The Telephone Consumer Protection Act (“TCPA”)
provides that a private action for its violation may be brought in an appropriate
court of a State.

l 2.3 Venue is proper in this Court pursuant to C.R.C.P. 98(c)(1) 98(c)(l) upon
defendants who are non-residents of Colorado, as such cases venue is proper in any
county designated in the Complaint.

2.4 This Court has jurisdiction over each out-of-state Defendant by virtue of C.R.S. §

13-1-124.

Case 1:05-cv-01650-REB-_CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 5 of 25

III. GENERAL ALLEGATIONS

3.1 This matter is a civil action for damages and injunctive relief against the
Defendants under the Federal Telephone Consumer Protection Act (“TCPA”), 47
USC § 227, et seq. and the Colorado Consumer Protection Act, C.R.S. Section
6-1-701 et seq. (“CCPA”).

3.2 Each Defendant engaged in acts or practices that violated the federal TCPA and/or
the CCPA, to the detriment of the Plaintiff, as hereinafter more particularly set
forth.

3.3 _The TCPA at 47 USC § 227(b)(1)(C), provides that it is unlawiill for any person to
use any telephone facsimile machine to send an unsolicited advertisement to a
telephone facsimile machine.

3.4 An “unsolicited advertisement” is defined by Section 227(a)(4), United States
Code, Title 47, to mean, “any material advertising the commercial availability or
quality of any property, goods, or services which is transmitted to any person
without that person’s prior express invitation or permission.”

IV. FACTUAL ALLEGATIONS AND CLAIMS FOR RELIEF AS TO
DEFENDANT US BANK

4.1 From August 5, 2004 through approximately May ll, 2005, Jaywell Enterprises
received at least 63 unsolicited fax advertisements (“faxes”), sent on behalf of US
Bank.

4.2 The faxes referred to in Paragraph 4.1 above were sent without Jaywell
Enterprises’s prior express permission or invitation, and therefore, constitute

distinct violations of 47 USC § 227(b)(1)(C).

Case 1:05-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 6 of 25

4.3 .The faxes referred to in Paragraph 4.1 above were sent without having clearly

marked in a margin at the top, singularly or any combination of the following: an

identification of the business; the date and time they were sent; other entity or

individual sending the message; and the telephone number of the sending f`ax

machine or of such business, other entity or individual. This constitutes in each

instance an additional violation of the statutory prohibitions of 47 USC § 227.

4.4 The faxes referred to in Paragraph 4.1, are charted below as follows:

  
   

Jaywell Enterprises, Inc. dfb/a
Wall Street Executive Suites

2-Transrnission, Header

  

a

2-Transrn1sslon, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

2-Transmission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. d!b/a
Wall Street Executive Suites

2-Transmission, Header

2-Transm1`ssion, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

2-Transmission, Header

2-Transrn.issi0n, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

2-T1'ansmission, Header

2-Transrnission, Header

 

Jaywell Enterplises, Inc. d/b/a
Wall Street Executive Suites

2-Transrnission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

August 5, 2004 ` 3:54pm
August 5, 2004 3:55pm
August 5, 2004 3:55pm
August 5, 2004 3:56pm
August 5, 2004 3:56pm
August 5, 2004 3:57pm
September 15, 2004 2:23pm

2-Transmission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

September 17, 2004 11:24am

2-Transmission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

September 21, 2004 2:47pm

2-T1'ansmission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

September 27, 2004 5:20pm

2-Transmission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

September 27, 2004 5:20pm

2-'I`ransmission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

September 27, 2004 5:20pm

2-Transmission, Header

2-Transmission, Header

 

.laywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

September 27, 2004 5:20pm

2-Transmission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

September 27, 2004 5:20pm

2-Transmission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. d/b/a
Wall Street Executive Suites

September 27, 2004 5:20pm

2-Transmission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. dfb/a
Wall Street Executive Suites

2-Transmission, Header

2-Transmission, Header

 

Jaywell Enterprises, Inc. dfb/a
Wall Street Executive Suites

2-Transmission, Header

2-Transmission, Header

 

 

Jaywell Enterprises, Inc. d/b/a

 

September 27, 2004 5:20pm
October 12, 2004 1:51pm
October 13, 2004 2:04pm

 

2-Transmission, Header

 

2-Transrnission, Header

 

 

 

Case 1:05-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 7 of 25

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Jaywell Enterprises, Inc. d/b/a October 21, 2004 l:53pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a October 25, 2004 11:48am 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. dfb/a October 25, 2004 11:49am 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites .

.laywell Enterprises, Inc. d/b/a October 25, 2004 11:50am 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a _ October 25, 2004 11:50am 2-Transmission, Header 2-Transrnission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a October 25, 2004 11:5 lam 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites .

Jaywell Enterprises, Inc. d/b/a October 25, 2004 11:5 lam 2-Transmissi0n, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, lnc. dfb/a October 25, 2004 ll:56am 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a October 25, 2004 l 1:56am 2-Transmission, Header 2-Transmissi0n, Header
Wall Street Executive Suites

Jaywell Enterprises, lnc. d/b/a October 25, 2004 11:57am 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, lnc. d/b/a October 25, 2004 ll:57arn 2-Transrnission, Header 2-Transmissi0n, Header
Wall Street Executive Suites

Jaywell Enterprises, lnc. d/b/a October 25, 2004 11:58am 2-Transrnission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, lnc. d/b/a October 25, 2004 11:5Sam 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a October 28, 2004 3:50pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, lnc. d/b/a November 22, 2004 12:23pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a November 22, 2004 l2:24pm 2-Transrnission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a November 23, 2004 12:01pm 2-Transrnission, Header 2-Transrnission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a December l, 2004 12:33pm 2-Transrnission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a December 7, 2004 12:37pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a December 9, 2004 l:lOpm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites .

Jaywell Enterprises, lnc. d/b/a December 14, 2004 l:07pm 2-Trans1nission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a December 28, 2004 l:37pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

.laywell Enterprises, Inc. d/b/a December 30, 2004 12:08pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a January 4, 2005 12:03pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a January 10, 2005 12:33pm 2-Transmission, Header 2-Transmission, Header

Wall Street Executive Suites

 

 

 

 

 

 

Case 1:05-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 8 of 25

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a January 13, 2005 11:26pm 2-Transrnission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a January 18, 2005 4:40pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites -

Jaywell Enterprises, Inc. d/b/a January 20, 2005 l:58pm 2-T1'ansmission, Header 2-Transrnission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a January 26, 2005 12:39pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a February 2, 2005 2:28pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a February 8, 2005 12:13pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a February 10, 2005 12:10pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a February 15, 2005 12:15pm 2-Transmission, Header 2-Transrnission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a February 17, 2005 11:5 lam 2-Transmission, Header 2-Transrnission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. dfb/a February 23, 2005 11:30an1 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a March 2, 2005 3:3 lpm 2-Transmissi0n, Header 2-Transrnission, Header
Wall Street Executive Suites _

Jaywell Enterprises, lnc. d/b/a March 7, 2005 ll:OOam 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites .

Jaywell Enterprises, lnc. dfb/a March 10, 2005 12:04pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a March 14, 2005 l:08pm 2-Transmission, Header 2-Transrnission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. dfb/a March 16, 2005 11:40am 2-Trans1nission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. dfb/a March 22, 2005 11:33am 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. d/b/a March 31, 2005 12:07prr1 2-Transmission, Header 2-Transrnission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. dfb/a May 3, 2005 12:51pm 2-Transmission, Header 2-Transmission, Header
Wall Street Executive Suites

Jaywell Enterprises, Inc. dfb/a May 9, 2005 l:56pm 2-Transmission, Header 2-Transmis`sion, Header
Wall Street Executive Suites

Jaywell Enterprises, lnc. d/b/a May 11, 2005 11:36am 2-Transmission, Header 2-Transmission, Header

 

 

 

 

 

 

4.5 An example of some of the offending faxes is attached hereto as Exhibits 1-14.

This represents the most common but not sole‘ type of unsolicited fax

advertisement sent to Plaintiff’s Assignor.

4.6 The 63 unsolicited fax advertisements faxes referred to in Paragraph 4.1 constitute

 

 

Case 1:05-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 9 of 25

a total of one hundred twenty-six (126) separate and distinct violation of 47 USC §
227 and an additional and separate 126 separate violations of C.R.S. § 6-1-701 et
seq. in, for a total of 252 statutory violations.
V. CLAIMS AS TO ALL DEFENDANTS
A. Knowing or Willful Violations

5.1 The respective defendants have violated the TCPA in a knowing or willfill
manner. Defendants, for having violated the TCPA in a knowing or willful
'manner, are liable to the Plaintiff for treble damages as provided by statute.

B. Violation of the Colorado Consumer Protection Act

5.2 The Colorado Consumer Protection Act was amended by House Bill 04-1125,
during the Regular Session of the Colorado General Assembly with the
amendments to take effect on August 4, 2004. The new provisions of the CCPA
apply to facsimile transmission, sent on or after the effective date of the
amendments

5.3 C.R.S. § 6-1-105 (as amended) provides that a person engages in a deceptive
trade practice when, in the course of such person’s business, vocation, or
_occupation, such person violates any provision of § 6-1-702.

5.4 C.R.S.§ 6-1-702(1) (as amended) provides that a person engages in a deceptive
trade practice when, in the course of such person’s business, vocation, or
occupation, such person:

(a) Uses a telephone facsimile machine, computer, or other device to send

an unsolicited advertisement to a telephone facsimile machine;

Case 1:05-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 10 of 25

1 ) /

(b) Uses a computer or other electronic device to send any message via a
telephone facsimile machine unless such person clearly marks, in a margin
at the top or bottom of each transmitted page of the message or on the
first page of the transmission:
(I) The date and time the facsimile is sent;
(II) An identification of the person or entity sending the facsimile;
(l]I) The telephone number of the sending machine; and
(IV) The facsimile number to whom the fax is being sent;
(c) Violates 47 U.S.C. § 227 or any rule promulgated thereunder.

5.5 C.R.S. §6-1-702(2)(b)(as amended) defines an “unsolicited advertisement”as
material that advertises the commercial availability or quality of any property,
_goods, or services and that is transmitted to a person without that person’s prior
express permission

5.6 At the time of the respective violations, as alleged herein, the TCPA and the CCPA
were in effect.

C. Injunctive Relief
5.7 Pursuant to both the TCPA and the Colorado Consumer protection Act, plaintiff is
l entitled to an injunction to enjoin each Defendant from sending future unsolicited

fax advertisements and from engaging in deceptive trade practices.

Case 1:05-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 11 of 25

WHEREFORE, Plaintiff U.S. Fax Law Center, lnc., assignee of Jaywell
Enterprises, prays for relief as follows:

l. Judgment for $500.00 for each violation of 47 USC § 227, et. seq. and/or C.R.S. §
6-1-701 et seq. that was n_ot knowing and willful,

Judgment for $1,500 for each violation of 47 USC § 227, et seq., that was knowing and
willful;

Judgment for attorneys fees and damages as provided by statute for violations of the
Colorado Consumer Protection Act;

2. Injunctive Relief permanently barring each Defendant from further violation of 47
USC § 227, et seq., and prohibiting any future Deceptive Trade Practice under the

Colorado Consumer Protection Act.

3. For pre-judgment interest as damages as provided by law, post judgment interest as
provided by statute; and

4. F or such other further relief as this Court may deem appropriate
Respectfully Submitted,

THE LAW OFFICE OF ANDREW L. QUIAT
A Professional Co oration

/

w L. o iat, (Reg. #1286)

    

 

Address of Plaintiff:
8200 So. Quebec Street
Suite A-3304
Centennial, Colorado 801 12

Case 1:O5-cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 12 of 25
To= 1303?'59647? - ------- 15.--5~5 08/05/04 Pe 002

 

rule

  

U;“l:`tl~l

ANSEL.KRANNlCH@uasl:»ank.eom
595le 935'2719 or To|l free 1-3'56-448~481"5

  

 

 

 

Consumer Fm.mee\ wvwv_usbanlticnmll:¢rekorleans CI|ePiISm"Vlccs (‘8&`6) §§1'|-4130
' -` = ,. _ _ .'»'ag».= 2 ar 6
§Ftl’lrt'l@ liftl tug ram - Ful'i fmc Mamx/emdelmes m..,_,l..,: …
1 _1, __ j 7b _ , _ v . _ \ - ' .
v|'-.|.V up to FT§_*_' any ..P'Jpc 759+5¢:1:|*& ll 719 Sl:n\e EBl| EBB Sl:nle EBI.l 1175 Scur‘:

 

‘ 1s\: Li=n l an Liqn'r int Li=n] Zm§ Lil:n* 'lst Lian Tzh:l Li¢m* 15€ Llen l 2:-rd Li=h*

 

GFR'D""’“""' vno,oon...\ ann,oos.. secl,cluc. eso,aon 550,1:00 znn,ooc Aso,ona memo

_SDO,DDD ZDD,ODD SDD,UGD ztlll,\?l‘J'J 400.000 150.000 SUG.OOC| 1110.0¥_`~0
B-FJ.DE% l':lzmutacmi' d isaij-`_l 150,000 - ~ '1 J‘J.GGO - - '150_.000 _ . -‘- - -
Sl=l‘-e. Dl:plc'x. "

SD!.DL?%

 

 

 

550.000 300,0{\3 SDD.UCK.‘ ETB.DnD 490_.000 lSDDUQ SDG,GUU T!';_UDO

4DD,UC|C| 175,000 375:0‘]'.'1 17-EJDDU 300.000 1511,000 ZKE[BUL'| 75.0\]£'

`MD amf rsu,uau zsn,oocl mccann lsn,nnn 300,01:1:1 mn._onu 'zon,eun sc_.uun

s:~m',-os) 325,000 150,01)¥1 301:1.1109. ic'o,nnu zzs.noo magma tSD.nun E-r..clou

Z'Ef"'"’"°'f‘ " ' -- '50.009 -- 50,550 -- 511qu Now.vall, Sa'a 125"/.'.
_ _ 50100_¢_) _ ___ .___j_L__I, _ _ along ’éui:ieli!'raa bealow.

l ll)0.000 -lO0,0UCl lD\'].EQU lflo.UOCi lOQ,OOO lOG,UOl'/' i‘.m.OQD 7 `i'JU,DCO

‘_-l[l.&@%

 

   

 

 

130.03%

  
 
   
   
   
   
   
 

 

f 1 ;z 5. rcw/l
‘l|'~! :'|'l ohiy§
'!i'J.D{J%~
chi Horne
° Acldil.“im‘.-Ji raquire\.

  

 

 

 

 

 

 

 

 

l\:lall. porllol\ ufluBll over EC=‘¥.-C Cr:tllt seem ?5\]-!- =15£1|<. 530-749 = ll.iC'K. end 650-579 =_ EClK. F::!
1`25'1{1[¢18"'¢`,`|"8¥. pcnlnll al' l:‘ar= cv~:l"l'€l(l% =15!(. Puh.~!\e%e$ lnB')l hal eh':::d 10'5% LT\./.

 

 

f-Cra<ln Bu.'=`ran Urad - ' _ y

l£.':'_'l!:tl 312_ www,u§hank_¢omlhmkarlaans (Aderm;!fv: 51:1:1-`1: ASl/shl'xgc Fl’bg!'zm)

` l: asu used ln your market under lha Prima Prograin. 11 Eul'=Bu etol'=: mu~il_ br 'Z~EDl-T-:l`a!l applicants

y baliuw¢r minn-m nn pnn:h. agnew-1 mt eh:ltlll:i:~~thc z) 530 - 535 sr,or as qualify fur no r.-l-Jra than

rapeny. Prlmary wage namer delemiine =.~1!€1¢51~1 rate $75K and 709+ alma no more then .’.~`-'!IJGK.

d. S=cnndmy appllcah! must be ah the Sl'll» in the prup-;:ly. 31 72 month crad`rl history is raq'.!irad.

-: more maris maj. demga and nal)sul:m.‘.cres.. 1‘~\1- 41 25,-ma \/=rlfl=r; mang. hls~lmy r=q'd {m: FTHE)

mud have n 525+ ::o|=\flh&h p!ll'n Y: '_=:c?:- 5) Nla:lmull\ LT‘J is '100%

w 51 l=z_a:_,_ § 559 aj h full URAE 1504 appmle`s.l
' ' ' '1'} Ar.ld 0.75%10 rata and/cr mar n

§| Sch-'_-lnpluy:d and lDBQ l:-nrrubv_ z ai'\l‘g'.(.'i"_\e

11 qu pmgmm fur W.-z bum»'.i~.= 51 mmr 11~_- \,\1/

same cumpeh‘-|{l'o'r mlh. nf'.! y\‘_sv-llll-:d by nn=

mha following ' ‘

current with six month pay hlzfvi_‘,' E-ac. or State n

11 25 months rated . ri huslh-

“<1 Ec.-'.\rs ia less than 700 1101:::11'5- , ' .~‘.'1.'1.=1 m.-dj s

~D".l{! A§,‘."_i!cci\jf
Decis.lonir;g

 

 
    
 

 
 
  
    

 
 
   
  

 

 

 

  
 
   
   
 

mds oiwarsions; ne more flinn
.1s_t bn lDO'i/.\ c':\mplela amf ll
_ Hi':`d - BBD+ S'_'nh: l'z:tj'te' l’-:i
1- 1_1'/ and $150K. No HELle'.a.
n psmm\\=m concrete tu\:l'::leih_»:\.
ft “1 l

 

 

 
 

-£-'alisn=d nasa time
-.'»' m' Deroga ,\`\lle'.~'-r;:i

 

 
   
    
 
  

-anaonini, .,

|u:lfg. ll'b:bi\.'au~fi 1 shr`§ ' - .

apples wiion ls '(:l)-'/.\' 11 mr lim 'iur:.l~.-:r-'a p .c'z.
l\.` 1917 'T'\' Wili'lll'.- ‘1"` h\r.\ W§l ‘

 

  
 
 
 
 

h\;:hllnhrs| Plap:!llci. =.§.
'nor Oc<.upied and Ccnd'.va, ever r,
19 w :l¢ian:aa..l\lo,valua;gtvan w
509 (B>:csp
mm then 10% epple:lallsu le
n-&Llns ¢-HGKABMI $¢.
n '§1.51< to SlB.BBB ls 15 y.'s. A
w. "wss and $b'EUln\-J. dls¢:- oz-;;.-H
“‘ adelesr.rcwc:allm.vc-d-m'-Pouw.'

  
 

 
 
   
 
 

   
   
   
       

 

 
 

' n
13 full l.lls.l»\l-

1',‘ C'.l'l£lll':l$

 

 

 

 

_ applicant lie=ua EBD+ ac ..r s
'l'rr.dellnes; 'l:moe. ‘E`>atls.l:1
§§':Z'Tnimorderags. T?'m'c:;c . v
’mo. renta-lhlsmrvwth)l'-l. ;.=y».l
d`lk; $~Z'.SQK M-!Ix. Ll:r:; l~l;¢!’-i\

R@qlzly=:a` A§)p ' '

lvlr:it‘.'i§.',

  
   
   
   
     
      
    
 
   
  

     
 

WY§BLW

 
 
   
 

 

 

5 '1
_ §_T*:ll; 1‘o\lowin {1.`1`{"..!»2“4`.1:|.
_., .
l .
11 F \; `\|r 1\;)1..
. ;r '2'; ’*lcl.-p‘\
§ cuess\:|‘s Blli’llu! assigns
§ ‘-.:i\l§¢¥l< L' bunker Ll:a¢. r.
§ -rzpurt.- Nul: that alma

 

 

 

,J€‘-:‘H ames 5'.1.11 ala and

altman 1"

Case l:OB-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 13 of 25
To=. 13037598477 14=23 09/15/04 PG 001

  

ala

Consumer Finance

 

Altern ative- Score Advanta,¢_te Pro,¢_tram (ASA P)

100% with 640+ and 0‘x30 on mortgage last 12 months
90% LTV for 600+ With 1x30 on mtg
85% LTV for 580+ With 2X30 on mtg
75% LTV for 550+ With 1X60 on mtg
65% LTV for 500+ with lx90 on mtg

lt W-Z, 1099, or Self-Empioyed O.K.

\,~-. '1 ()()% LTV for one loan, or 80/20 combos O.K.

l interest-only available with 680+ SCOr€S

lt Purchase & cash-out reii’S O.K_.

lt 2-4 Unit. properties up to 90% LTV

lt High-rise condos, Rowliomes and Rural properties up
to 90% LTV

\,~ No Pl\/ll required - ESCroWS available

lt No bump for eash-out!

lt FTHB available-with 680 fico Score

lt 'l 00% LTV Stand-alone ans available-down to 640

lt Loan amounts up to $6501<, purchase or cash-out reii.

\.

Ansel. kranniclz@usbank. com '
866-448-4815

mounva

EEEEEE

For F$l'oker Use (')nly
(`.T.A. 3.22.04

ExH1B1r 2

Case 1:05-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 14 of 25
To= 13037598477 , 14=47 09/21/04. Pe 001

 

 

?§/Ve 1/1/$ /-'/a$h?§

EffeCtive 9-2 1-04

Consumer Finarrce

1‘°'t Mortgage Line of Credit

Margins Drop Be|ow Prime!!!
(|nterest On|y Payment on LOC’s)

 

  

15t Morcgage Line of credit - lnteresr only
720+ ' 700 - 719 eso - see

        
    

0 - 70% P - 0.30 F’ - 0.30 P _ 0.30
71 -80% P -0.30 P -0_30 P -0_30
81 - 90% P - 0.30 F' + 020 P + 0.45

 
 

91-100% P +1.00 P +1.25

    
 
 

    

 

** Current Prime Rate = 4.60% **

Great 1St Mortgage’s with U.S. Bank!!!
check out the 3-vear ARlvl & 30/15 fixed too!

 

 

 

3- ear AR|V| 30/16 Fixed
720+ 700 - 719 630 - 699 720+ 700 -_ 719 680 - 699
0 - 70% 4.35 4.55 4.65 5.80 6.00 6.10
71 - 30% 4.40 4.60 4.70 5.85 6.05 6.15
81 - 90% 4.75 4.95 5.05 5.95 6.15 6_25
91 -100% 580 6_00 6.10 6_25 6.45 6.55
o No Bump for Jumbo Loans \
o N0 Pl\/l| (Even up to 100%)
o U.S. Bank Wil| pay for |\/lRT & Recording
o YSP & Buy-downs Avai|able ~ Up to 2pts_ l\/lax (_40 per point)
o Low C|oslrrg Costs t- $274 U.S. Bank Fees
o Great 2"d l\/|ortgages too (stacked Or Stand-a|one) loans & LOC’s
Account Executive: Ansel.Krannich
Phone: 866-448-4815
Emai|; ansel.krannich@usbank.com
FOr Current Rates: 11>11\o1.1.u.s'bank.conz/l)rokerloan.s'
*lt` you would like to he removed t`rom this rlistril)ntion, please contact [mi.~".e|.l<l'aliliicli(ft!lLtl)nlik.com] _',, ,,,,,,,,
Our I’oslul Addrcss: U.S. Bank_. Consumer Finunec Brul;er Sulcs, 16 Ni.nl.h Avcnuc Norlh_. HopijLs_. MN 55343 LEND E

i"or ljroker l.|.w l.lnly

EXHlBlT 3

Case 1:05-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 15 of 25
roe 13037598477 (1303759847?) l _. / 17=20 09/27/04 Esl Pg 7-

 

 

l:lTeCllVe! f`, ` i"l’,'.‘n'M Pag:lir.lfli
[! L,.:Ebank. Allecl Kronniell 856-443-4815

 

 

 

 

 

 

 

 

"" "”""" ""“'“"' '“') ansel.krel\llicll@usbmlk.uoln
_ Gliellt Services - 666-850-4'|60 mm.ushank.eom/brukerluans
Consumer Flnalnce
Tl'adl tlunal A l tel'natlve Pl'l) gram - Marrir/Gui¢lelines
M¢Mgage a!lm\lm
Froduet s":'|:_t ?;' Dellllq. m:‘:::§r;l"“ M';::;g;;m Loall Program NngS
(l_asi 11) Amnun¢s
A+uu ' l'll‘.' mll:il l'l.‘ discharged '~-'i yr‘.rlni wilh grind r~'l-l~..'llnhli'lll.'\.d r.rnrlil
A+ 85 515 lb ' lil`d,ll l\llllor 3‘.'- dev $Jbl.'ll\ ' l.'-;l|ecllolls. llelis. luduenients. merge orls Ul'\ ltll|ed over .’l nlollt|is.
Mu~.\ bn setlsl'le\l lf ul.lell.
A+ go .":,_\ w . nw 1'. walsh 'l:ll'. nlusl be discharged .~.\ wells wll|i good re established credit

* (21ll.'~.lui1nl: linn:: i\lrl:.~.ln.".rl|l'. clllrl l.'hllli lln:ll'.l::‘_pl-'lh|:
lll'll\ 'l oll'llel l:ll. ll.lt allowed

.. '.‘llrl lllll_'l ' lln~`.illdgr.mr.nl rlr r.nlli~.r'linn .'llr. llr\l'll‘.r$" ill\\ Mll.'.l hi`. 1i1li'.l-'~.d if-'lrlnrl

(ln|ling n~ll =lllnvlnll\ nn|y ‘ M ~.li- il~1| i. lllll-.- :li lll ll|l lll :`F!'-"lll vlilll wlill::ll. ':ql|i-.lllleli lll

' Hl'. discharged _~.t wars w/slood re estobllslled credit

A- ill _ A,_ l .,_'_,m Mirlsl \ll rlil¢.' 'K,‘l_lm‘ ‘ llp::n r.~lllnl: 'J::rll:ll'l|.'\. |1 $l,"lnil .'l'_'|gl.'lgil|.':

A- 85 ' ' ' ` ' |.'=n|-'\l\~.d ’il'l d-l~/ ` ' ' ' Llells. li:lllnll lid Clu C-K ll med o/el'l: nio\r\|u~:t be seller lrooeli.

° l\,l.':dir.'ll r.nlll~.rlinn." r‘.l¢r.|llllr:d

N|ln_,r 50 ‘ l'll\' lli :ll.~llg:‘.\l '¢'l yelll.~: wlg.)ll-ll :-n.\'.|e\-|i.~: `.-l -: r.-lil
Mlllor lle\r_ -$`,Mh- ‘ Udell collec\l-.\lls acceptable l~.\ 51.'.'-00 au!lrvslclle

:`-D days wm jrlgnlnrll:; :lnll l.'In|T:: l|l( il |’l|-`.ll n\r.`.l .'4 lnl-l\ Mll:;l he la

 

.. Nllllll
A+"°° ""' 45 Nlnw.~.il

 

 

 
 
 

~'.'
_-l

   
  
 
 

 

A- !ll b`JL\ lb ' le'ili

 

.'.'{i|’ nrlr.ll

lllslellnle|ll'. Minnl '\(l :ff\.'-fl|\ ’iyl‘.i'lrr. 'ngnnrl m-r\_':lnh|ir hnrl r.r\dil

 

 

 

_ ‘ 4r v ~., l v
A 05 l 1;££?":;.? ',' v 1\') Fl.'lyli lnl l.. :; ll.. lll\i \]l< iilill~.ll 1.'\ 'Il-i\ Mll~il l)l~. ~m|i.~:f il lll::ll
A_“m ""-"i l. ib% le=.l12 Un l~/lnjnrnr wm ' Ul)ell c-.\llecllolls upl.\ 050 aggregal= unemch ._.grlud,,q]
" ll'rllll l.'g] lllll‘ll.-lnil 'l.' |‘Al\'-nl'('.('- m 2'“|` Rr:rl gllidl‘.l'lrln.'l lnl llrll'lilinrl: ll lnqllilrllnnnl:; l’nl lO'l"/. L‘llrl pllll:ll:l:a-`.:~'
'lllll V. (lnil 12! '

'l n.'ln mll': l hn' ln r.nml'.in.'l|inn will'l n 1. il l li‘.n lJl'i|h n m.'lr | T‘/ nl h' "%.
ell/20 M_ m '$L'Nll\' ‘ Fil.~cl rllnyl):: willl alllllllnl l~.ll-l::l, bill lslll :ilnliiel lllll:cl .\cli|l lin llll:|
First "“" fnl 1-'<|.'. ' l\.lllllnll.lnl credit score ol'o:lO (bolll borrowers lllolllt loall\

 

 

Tirn: ,. ,. __ ‘,"¢!ln r"_|¥:: ‘ Rl:nl lnlleal hr: cllllr:nl :lnll Glnrlnl n'rr.nnd n'¢.'lll i|:e.il l: )idnncnrl
ibm 4.i 0..'lll lin |-/|-llnl nl
H€|ma lrlr;|nllmnrll Minm_‘.(. ll‘/e 3|`\! pal`f‘/ ‘~/OR l.l|' l.an'.lsllull l.lled€£

B\.ly¥r (|M| 1:_,\ $."i"lll ’ ll~'~ll(:rlihn' ll|'. l~\ $°ill"- nggrl‘.gn|:: (mcdir.:ll -':llrlllrinrl]

' l(Jr Il\dt~ ‘ N ll:ll.\llg:l-lill::, |i:~.lle: .ll illllglllll.':lll.~:\ * Nll llli ll n|i n||nw::l|

' H'Jl'l'~.|Wdl’(§l nlUSf haVU nlll`l. l.ll 3 tmddlll`ld§ \l|lm 'JHH bdl|\{J ll]$t€|lll'lldl\\

‘ I'lli' dillr.hillgl‘.d '-».' y-.ill.'i wlg.'lndl-'l-l‘.:i|=lhli::ll-".d rlr\.di|

' C.illel.tlol'ls. llells. lud-,;elnell!s and Clofls OK lnlLlelbe lllell J\ler 12 llloi
lnr l'q!llll r~`.<'il~ll'i-Mlls| l'.n [-rlid il nr.r.n .'lnrl li|r:rl 'Nhn 'M mn\ l'-i‘.|'\- -\ll

Ben ,
385 `

“" "‘ ;lmr~nl\

‘i-.-s l-.-rlll _m my

 

 

  
  
 
  
  
    
 
 
 
  

BD{|

 

 

 

C+Bl] ’i'-'.- :i'l -lr.`iq ':\'.‘i\'f

   

 

 

     
 
   

 

 

,_t=[_ L_ S.l'l. : 5£ 5_.,: _u(_ . 'e -.lE»f'-L'lllshe¢ C|'-sC-’
E+ ES ahi.- ag |"_. ll_' ~.lll= . ' _' ` _ I\'.loC-Z-\ ' ' .::lrl: n.': l.'lp.'l.~: ..'"l ir ii-'-$'.‘l\
\-:£ .gJ ` L-.-lllll...sll\.~.'
= e.\
‘.:i-Jl'-l= `.d,_ _u‘
L' 75 e:-_- en l.<o'.l.:ice: E=no.'a L_:|;n,f' |'1,_, !eeo-\
e '.-.lue.‘_y " "`" "
C- 70 .l'.'.~ o\J _'.<'i'J. 11:\.'..' ser.-us _1-.4=:"-'lu»=-.-'.~,~ io.i'."-\ 'C.r:e.'.l.l:'s. =:ene.:
" ~l'\n-".‘¢r.l.~¢-.'
_-i. .
n ama “" 'i\l l 'H` i'l'-':rl' "-'l '-"¢'- 'll'iri -]m.': rig {l'i=~‘£

'.-'-"l-_.'l‘.-

 

DE§-Rsfl` univ

 

 

 

  
 
   
   

 

  
   
 
 

' credit E_;or: - Mirl :;f.
'-":|isl'lle-e -
'.'J‘J t‘. '_i.l

 
  

       

~: lv‘li. lee £-)l'l:lde-'
. .'ll -‘lrlnnr,' r.'ln:rrlr|

   
 
  

  

 

:' i. 'l‘,l`e‘tl.lLlcl:.:'lll.'l l‘..'_ og-' :-'ll

“ "-". t-'-Jl' r lea -l'€','|.‘le allred £l‘..' '-' ‘. .
r.'-'lp-'».'-lr~':-':v..'r\l .-\-’ .`.-`l_ l-.'Z-l .`Z- - |l“.
l. C‘B'_' l
‘Jen'ed is l'= _` r-l-Jli:l'is se 551- --.lli:l :-.~r .'-m-B l-J=‘--s;

 

€ll -E|D"‘-".'li‘.§l '¥‘l'-.".`~'

' pl l‘.+'- 'l'l - .Z-l.\'.],?f" '.

'l'=< ~.l“.“.'J le 'LcE.‘ al::ll-_.llll-:;

1"..~1'||.'1:`- .l` '."l|'l‘," t ‘I\l'J'JE

r';~.p .~lh r

Ll|ll. :' ¥-'l '¢'R:\. '=lll.e

` lh:orrle l.ll|l'l l.ll Jl‘_lJJ:'. iel.'l-.' '-'..l."l'-e 'e.|Ul:E-'l'!|ll '155[ pl:" _'U~;elll) li

-'.'- il'l.'-pnrl ':11.111:'-'-7.' '.'-.':|| nnr r-.`.r-ir. ' Ea-, row h_' .a,=,¢‘_ f:.- -J .n§ ct sr-_.sl _ _|l nl,i'. pr _ `\.: 3\2".'\

:.'= '=J-. '-.lJ |-'ieL-\:|l- 'li|e ' Bl.ly- Llpdl'Euy-Dowrl:i.

‘l'|o"':-Z". _' -..l'ld- ‘e'J. ‘ '-.1.'.-` lh%. ' 3 '."l\l`l i-'_"~l:l=a'. '< '-l` "a°-‘z- Ll ‘l|

F'ur-:-llaae ill urle',' Slalll.l-.‘\ll.ll‘le Pl -’lDli E|\-. la' ' B‘_' ~‘l»'.UDl-:','r‘|'.€'. he
li.. ~.r='.: ‘ Apprei:als

. "l’Jl‘l a'_ 'elil'. ll ‘l:l "iC-l~l l:= l..'.|d "--' -' llll~cl h~.'.

aid '/">lll llle ’." r~.-:=.rtl o'.'r:-ellli-_~s .'n~. .

 

_.... .., n.. ._'

     
 
 
  
 
 
 

   
 

|£lthll'l:lill.lrlll:lHllUls||l,q 'e.|
~‘:.'.~.:Lle.'s ilol.‘/. r\l ;le

   
  
   
    
  
 
 

l:pl ll ".l 'ig"lln i'l'~i -`-’Tl ll'l

     

 

  
 
 
  

 

       
 
 

" ~l'\='d :I.lt e.'e ..l'l'.l='.`:i:. 'e 1-'--
‘r'l':ll_r. lg.': |'\i." r.n" ~l'.'.l'ti'

 

 

       
 
   

"l"' lT.l`lE LJll'B:th‘
l -‘ ..rrhns.'\. prl. -.

 

 

.usb.sml. nol~rll'l:rnl:erlu.m: l'l.ll el
'f" l ‘ . '

  
 

l:l ~ell|-l:-.

 

 

 

El('lilBl'i ll

Case 1:05-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 16 of 25
To= 13037598477 v 11=48 10/25/04,PG 001

§ l
i ,r

 

 

 

 

     

 

   
  
   
   
 
 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    
    

   
   
   
    

 

W%HMEG Effeclive: October 25, 2004 Page 1 uf 5
“1» v l ' . l
ill l'" irl\) WOW L'-*Q'k ANSEL.KRANNlcl-l@oebenl<.cem
at these 952| 930 2719 ll f 1 865-440 4815
___ - 0|' id l'GB - -
consumer Fll'lance A RM R,gg‘e,g (
Client Sel'vices 866-850-4130
P ' P R t For Rales and Guida|ines visit:
rl m e reg ra m ' a es www.us.hank.c:amll.\rakar|cans
9 15t pos|t|°n ' ina Pricing Adjustments l Notes
o LTV ARMS leed Pnsitinn 10 Yl l_ean - Dedoel from 15 Yr -o_lo
3 t _ 1I1 Jl'l 5/'l ARM 15 30[15 15 sums Loans ~: $ZSK (nur HELOCs) +0.25
°' ARM ARM ARM Malr.'lll Year Yer\l' Cnndns (laan.s, not HELOCs) +0.30
70% 3.30 4.05 4.70 2.75 5.35 5.55 5.85 6.45 Fil'st Time Buyer (HELOC nor +0_50
-l- SD% 3.35 4.1|] 4.75 2.80 5.40 5.60 5.90 6.50 a\/al`l. Scc guidcll`rlcs for FTHB inTo.)
a 90% 3.70 4.45 5.10 3.15 5.50 5.70 6.25 7.05 \':l'!al!cd lncolm: (see guidelines +0.75
"“ 100% 4.75 5.50 B.15 4.20 5.80 5.00 5.85 7.55 and hole (`ll bafh borrowers mu:lscml:
125% -- - .- - - - 'l 'l .BS -- l»'b'U+ (2) Mex emuul'lF 75K (b'b'()-b'§£l) ur
m 70°/, 3.50 4,25 4.&|0 2.95 5.55 5.75 6.05 6.65 lODK {700+). 699 ASAP program for
rt 80% 3.55 4.30 4.95 3,00 5,60 S_BD 6_10 5_70 higll:r'luuh amici end l‘ul' lower suur¢:¢;.
6 90% 3.90 4.55 5.30 3.35 5.70 5.90 fi.'/`O 7.55 Buy Ups (VSP) + Buy Duwns
o 100% 4.95 5.7u 5.35 4.40 s.nu 620 7.;)0 s.zo' % _F'Q»Lts_ _9_6_
"' 125% __ _ __ __ _ _ 11.95 _ a_la 125 0_50
m 70% 3.00 4.35 5.00 3.05 555 5.55 5.15 5.75 0.20 1.50 0.50
g 00% 3.65 4.40 5.05 3.1D 5.70 5.90 6.20 6.30 0.30 1.75 0.70
cl 90% 4.00 4.75 5.40 3.45 5.00 6.00 6.95 7.80 , 0.40 2.00 0.80
m 100% 5.05 5.00 5.45 4.50 5.10 5.30 7.45 B.30 AR|V| Notas
m lzli"/u _. _ __ -~ ~ ~ 12_05 - lndex=l Yr Lch)R; currently 2.420"»
a 70% 4.70 5.45 5.'10 4.15 6.70 6.65 7.2.5 3,20 Caps: 1/1 & 3/1 = 2/2/|5; 5/1 = 5/2/5
u? 80% 4.75 5.Sn B.'lS 4.20 6.75 7.00 7.45 5.30 Bl.ly Ups (YSP) + Buy Downs avail.
g 90% 5.80 0.55 7.20 5.25 7.95 3.05 5.45 9. 10 on ARMS also and apply onlylo
u:l 100% B_BD 7,35 B.00 6,05 8.05 8.15 B.SD 9.55 initial ra[c. hot |'nalgin!
!! Ra[c.li on all U.S.Bamk p|vgldms good fur/15 days Wl[ll nu add Iu role ll `
Home Equity Line of Credit (HELOC) llllargins Cu"=MU~S_ Bank Pn'm= R.er==4-75"/-
Lihe 80% LTV 90% LTV 100% LTV 125% LTV
Am°l.lnt 720'|l 700 500 550 710+ 700 680 650 7Z0+ 700 600 550 720+| 700 l 580
£: $100K~7¢)UK -0.05 020 0.45 1.20 0.50 1.00 1.25 2.50 72;-¢' Dn[,
fn § sva-ss,sss l l l l l - l n.zo _0.05 0.45 0.70 1.45 0.75 1_25 1.50 2_75 _|Vd”:b/j; in ind
v g ezslr_¢s,svv -0.05 0_45 010 0.70 0.95 ~l.?l) -l.oo i.c»l:l 1_75 300 ” `Os,.él.m“
‘1 $mx~z-l.s:).'l ~ l _0.05| 0.20 0.70 des 0.95 1_20 1.95 -1.25 175 2.00 3.25 p
c §100“-30DK 000 D.OD 0.€|0 0.50 0.25 Cl.75 l.UO 1.75 0.75 `l.25 l..ECl 2_75 SSDKm:x. aide '..=oid-""-:.:
§ § SSl)H'-w,wll 0_00 0.00 0.25 0.75 0.50 100 ’l.25 Z.OD 'l,OO 1.50 175 ;-`».00 2.50 2.7'5 3.00
m g 525§(--59,999 0.00 0.25 0.50 1.00 0.75 115 ‘l.50 175 1.25 1.75 Z.lJD 3.25 2.75 3.00 325
°' S?DK-`¢“i,GHB 0.00 0.50 0.75 125 '1.00 '1.50 'l.75 '.;_5 'l_50 2.00 ',_'.;£5 350 ;`».00 3.`._'5 3.50
m ~ 680+ lllll:l‘r;‘sl ulll'y payments and qllullfyll) 'lDO"/li Buyups/dl:wlis avail @_ 4011 on amounl drawn al
'5 Over 100% - payment and qualify at 2"/.’» clusil'l_c_l. Buy downs cannot result ill rate below
§ ‘- 550-570 lnlcl’csl only pa\jrrlc,'nts and qualify lo 50";~ pril'l'ie. Nal available cm 12-55.
0 Fl'c)m 80.0|% to ll]|',)% payment and qualify at 1%. '- 12 m_o. mortgage hie.l. raq'¢:l lo qualify (l`\lo FTHB)
d ~ Slaled lllc':nle~ acid 0.75% lo margin (eee guidelilles) ~- Bcllh borrowers miner scale 650 ar above
I ' lnt':rest rahlv calclllali¢)ll = R_~.gle l'l;-_' x $ Anir.»g‘hl - 15 years to L'lml'aw plus up to 'lO nlg're to repav.
l ““““““““ “~ ““““““ " “‘“ “ ' “'“ ‘ 1
Z_lli Ft;\: Dchr.l'l[gtl ll i i
549 Processirl " . 150 pUB. f "" f
gm m P,ep? , A RM' and P llxed ,
564 Ta)l Stl\)lct >'FWy_,-.l m HEL“DC'B 35 : R _ v R _d l _£f :
- m green plele l l P _ l . area ed me . l
se se Flool-l carlile-ellen nw 35 nme i ALL z i
$274- $174 Tutial Fccs l o n "‘ l
*a).'nepl lJlA/l\/|D/l\llE/l\/ll/l\lC/l\lJ/l\lY/TX MFNU§ 53 0 ’;n i ' i
$`(`5 HEl.Ol; alllll.lalfee (waived 'lstyl') l _ } 1 `l f ,
_l cl r-'-'OR l:_ll='E l i l RUMA Mé _ i
ar local ma‘.'.'imuni, whichever is- less » .
d

 

 

 

        

1_ _. \.1
'l ",l» of l)dl. at payoff for flrsl 3 yrs.
(?llst'yr. fail 1/1 Al`~ll‘vl). Nc) Plcpayh'll::rlt _.
Plehellty fr.))': f.`~iA, |l_l l\/|O, Nf_`., SC., TX (F’l'lfl'le‘ F!'~J'__Jl'dl
HELDC_'=-.: i% nflhe credit lin'lill $100 U.S. Bal'll< Sal'viee Cel'lter
rliihinium, hot to exceed 3350 if 4325 17th A\/enue SV‘J equal housing
l:llJ‘.=uEl ill l'|lc llr$l tlll'cl: ycal's_ l:'¢'lrgO, l`\lD 531 l`_l.'B le)lrlz'l‘.

__ -'-i l=.xllll~lll 5

       
    

i`,'. .'-`»l }?imk i.r wl

 

.... ..\_..,..,
LENDER

 

 

 

Case 1:05-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 17 of 25
'= 9 7 15=50 10/28/04 rs 001

Zljslniiill_ f

Iii l: Suu' .S`onir.' liminlill\~cd (&i‘)

 

Consumer Fil'lal'lce

   

You Decide...
Choose U.S. Bank’s NEW interest

ONLY100% LTV ARM!!!!!!_!

Sell 1 loan to 80...90...or 100%....»’1'¢‘11 no PMI ..'

"3 YR ARM" "5 YR A'RM"
720+ 700-719 680-699 720+ 700-719 630-699

   

 
 

   
   

0-70% 4.05 4.25 4.35 4.70 4.90 5.00
71 -80% 4.10 4.30 4.40 4.75 4.95 5.05
81 -90% 4.45 4.65 4.75 5.1 0 5.30 5.40

91-100% 5.50 5.70 5.80 6.15 6.35 6.45

(lnl.crcsL-only option not available l`or Slal,cd Incomc or Firsl Timc IIomcbuycrs)

See current rates for program information

`r Cash-out up to 1000 0 ().K!!

i_~» No bump for interest only options Or JUMBOS"""

§'-" vl\io reserves required-no cscrows needed

")'i- Taxcs and insurance arc not included in debt ratiO!

iii Pul'chasc or Cash-out Rclis (_).K. 7

B'-"» Yicld Sprcad (Rcbatc) AVailablc - at 40:1 ratio -- 2 points max
ii» l,ow Closing Cosls__sm U.s. Bank ms on i“‘, $174 on 2'“`

Ansel Krannich, Account Executive
Phone: (866) 448-4815 ~ Emai|: ansel.krannich@usbank.com

www.usbank. com/brokerloans

   

‘ m` -;:
*Tt` you Would like to be removed from th is distribution list1 please contact lnnsei.lrl'nnnicli((j)lmlmnk.coln_| mm ,...,.,..,,
Addrc.lss: l_l..‘$. Lienk__ Consumer l"inuncl‘._. 16 Ninlh Avcnuu N., Ivluil l_.oc. l_iP-MN -lll'_`l`?.l", llupkins, [v.l_N LENDER
' Fol' Rl'ol<el‘ U.<le l'.ll'lly

EXl-llBlT 6

Case l:OB-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 18 of 25
To.= 13037598477 12=23 11/22/04_§’6 001

)

  

T`w:i Sr.~zr.l.'rvir:t Cur€tcnt‘ed Q®
Consumer Finance

Thanks For Giving
U.S. Bank:

   

 

 

 

"3 YR ARM" "5 YR ARM"
720+ 700-719 680-699 720+ 700-719 680-699
0-70% 4.30 4.50 4.60 4.95 5.15 5.25
71 -80% 4.35 4.55 4.65 5.00 5.20 5.30
81 -90% 4.70 4.90 5.00 5.35 5.55 5.65
91-100% 5.75 5.95 . 6.05 6.40 6.60 6.70

(680 Minimum Score Pn`mary~650 Secondary, Fu|| Doc On|y, No FrHB)

N 0 Bump for interest Only

No Bump For Jumbo

N 0 PMl

US Bank will Pay for MRT & Recording

YSP & Buy-downs Availal)le at 40:1 - 2 pts max

Low Closing Costs--$274 llS Bank Fee

Great 2“d Mortgages too (t)o att/20 stacked tn 100% both interest only with Loc)

Ansel Krannich, 866-448-4815
email: ansel. krannich@usbank. com

l"or C.'urrenl lime tS'/'zeel,s'.' www.u._\'bcmk.ct)m/brc)/cerlocm,r

*Tt` you would like to be removed front this distribution list, please contact leonsumer.titmnce(rj)uslmnl<.com_|

lillA\\louimu
R

Address: U.S. Bank f.`,‘onsumer Fin:tnce, 16 Ninth /\venue N., Mail T.oc. F,P-lva-HOQF, T-Topl<ins, l\/|'N 553-43 LEND
Fnr l'lrnkcr Us:c (')nlv

EXHlB|T 7

Case 1: 05- --Cv 01650- REB- CBS Document 1- 3 Filed 08/25/05 USDC Co|orado Page 19 of 25

To: 13037598477

rsnann

 

 

chair .‘r'om :.ttwmm:cd("é`:r-)

Easy as l, 2

No Pl\/ll

Selt`-employed or WZ

tow lender fees -$525 for 1st
and s375 for 2nd

Previott`s BK"s allowed
Generous cash out policy
Available for FTl-lB"s

No jumbo premiums

YSP at 40:]

Other blended rates available
scores down to 640 - see rates
and guidelines l`or more

in form ation

*eft`cctivc 12/1/2004

13: 10 12/09/04 PG 001

 

 

 

 

 

 

 

 

Rate as low aS-*

5.55%

 

 

 

'l`icr 1 AS./\P program

Visit WWW.usbank.com/brokerloans for program Specif"lcs

ACCOUNT ExECllTlvE: ANSEL KRANNlCl;l
Phone: (866) 448-4815 ~ Email: ansel.kralmich(ti_`__),usbank.com

*Tt' you Would like to be removed from this distribution list1 please contact |_consumer.tilmnce(ij)uslmnl<.com_|
Addres:s: l_l..‘:l. Batlk, Coxlstullur l"inanee, 16 Nintll Avenue N._. Mail L,oe. l.lP-MN-lll'.`)'.?l"_. llopl\'ill:s_. MN

 

LEND ER
For Ftr ol\'er Use t_tnly

EXH'lBlT `8

Case 1:O5-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 20 of 25
To,= 13037598477 13=37 12/28/047 re 001

l

 

 

::Wl:-hl:,`.|t` t t ,rl|l‘tlly'¢",;yl `:.`-`-` `

‘ ' ' ` ha m '*"lr)i-“'.,

il /`l¢i~.' 'i _ _ _ ' iii`".»;, '
, Frvr. fth'lr r$`t-.l~vltz-.-(nullzlvtlml Q_D B R O KE R 5

Consumer Finanee TOP 3
` ' NEW YEAR'S
RESOLUTIO|\|S

1. STOP- SELLING MORTGAGE INSURANCE
U.S. Bank's programs NEVER include MI Whether structured as
80/20 or just 1 loan to 100%. No money down for customer and
'Full tax benefits

 

 

 

 

 

 

2. THINK OUTSID§ T|-LE_ “30 VR FIXED" BOX
Although we offer the 30 yr. products, consider the savings that
comes w/ alternative products. For example__,
- 3 YR ARM w/ interest only option as low as 4.50%
- 100%, 1 yr. arm at 5.00%
- 80/ 20 combo w/ blended rates as low as 4.89%
Pay less in interest and use that savings toward debt
consolidation or pay down your mortgage more quickly.

3. MAK§TMNGS AS EASY AS POSSIBLE_
Approva|s in just hours
Underwriting turntimes of around 2 -3 days
FGX Clll COnCll'l'lOV`|S (emai| appraisal on asap &traditional)

START THE YEAR OFF RIGHT WITH US BANK!!
Ca|l Anse| Krannich for more into at (866) 448-4815

Anse/. krann/bh@usbank. com
w w w. u.s'bcmk. ct)m/?)rokerloan.s'

 

*ll` you would like to be reilloved l`rorll tlli:s distribution lisl, please eoutaet [eorl)lumer.['manee(t’l)usl.):rlnk.eoill]
Addre:z)s: U.S. Balll'e Consumer l"intlnee, 16 Nin|ll Avenue N._. Mt-lil Loe. l_lP-MN-ll(_lZl", llopltin:s, MN 553'13 _@

il'lf:”it"l:')'l`l:'ii

For Ftrol<er Use l.') nly

EleBn 9 _

Case 1:O5-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 21 of 25
To; 13037598477 12=13 02/08/05 PG 001

l ,l

  

,l_l. l`-i\ 1 .W'_
Hve Stat' bet'vt't'e Cr'utu'anteed @1219

Check out our g
1St Position Rates

 

Consumer Finance

Prime 3-YR nnd s-YR ARM 'l~‘* lvltg.
Prime H_ELOC margins, as low as Prime - 30 bps*
No Bump for Jumbo or interest Only

 

 

' "See Rate Sheet
- “3l1 ARM"
LTVIScol’e 720+ 700-71 9 680-699
0-70% 4.50% 4.70% 4.80%
71 -80% 4.55% 4.75% 4.85%
81 -90% 4.90% 5.10% 5.20%
91-100% 6_15% 6.35% 6.45%

 

“lnterest Only HELOC’s” 1st Mtg. (minimum HELOC $100K)

 

 

 

 

 

 

LTVIScore 720+ 700-719 680-699
0-70% Prime minus .30 bps Prime minus _30 bps Prime minus .30 bps
71 -80% Prime minus .30 bps Prime minus .30 bps Prime minus .30 bps
81 -90% Prime minus .30 bps Prime plus .OO bps Prime plus .25 bps
91-100% Prime plus _30 bps Prime plus .80 bps Prime plus 1_05 bps

 

 

Need an 80/20 combo? Try adding an
lnterest-only HELoc 2"".'.1.1

011/ek to close and only $274 floan) or $210 {HELOC) in lender fees!!

Great 2“d Mtg, too!! ’Loan or HELOC’s

No |Vlortgage insuranee_at any LTV

No Bump for Cash Out

Taxes and insurance not included in debt ratio on 1st |VItg. (Prime Side)
Same day approvals/23 days in underwriting

Yie|d Spread (partia| points availabie--max 2 pts)

Ansel Krannich
( 866)448-481_ 5 ~ansel./crannich(ti_)usbank. com

For (,'urrent Rate.s' l/'l.`sl.`z‘: w w w.u.s'bank. comf?)rokerloan.s'

 

*Tt` you would like to be removed tro m th is t'listribution list, please contact |_consumer. tin ance@uslmnl<.com]

Addre:sls: U.S. l}an.lt, Consuxller l"inanee_. 16 Nintll Avextue N._. Mail l..oe. EP-MN -llOZl", llopltins, M.N 553/13 LENDER

l"or Broker l.|se Only
C-A 02.()7.1.)5

EXHiBlT 1 0

Case 1:O5-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 22 of 25
To:-13037598477 (_13037598477_) . 11;30 02/23/05 EST P~ 01-01_

_l
km

l Fl`vc Str'lr Serv'l`et= Guart-lrltmll Q®

ret',l';/,:'ritr'trtc"rnzl t l‘:~

   
 

     

 

Consumer Finance

 

ZERQ DCWN PURCHASE MONEY!

4190% * Prime = 1°' - 3 yr ARM/ 2"°' - HLOC

0 it
51 95 /0 Alternative = 1‘“ - 2 yr ARM/ 2"" - 30/15 yr fixed

0 ic
51 82 /0 Prime FTHB = 1"t - 3 yr ARM/ 2"‘ - 30/15
*Rates vary depending on credit scores, mortgage history, geographic location

and property type. see www.usbank.com Ibrokerloans for rates
and guidelines.

Get rid of conforming requirement headaches

,..\,\,

    
 
    
 

,
65

§ §
'¥
a..». ".__, __ ads

US Bank’s 100% purch ses make it simple and painless!

- No cap on seller concessions (3% for FTHB)

- 100% financing with No PM| EVER!

- Low Fees

- No pricing bump for jumbo’s

- Quick film-times (< 24 hr approval - 2-3 day underwriting)

Please contact me for more information
Ansel Krannich - (866) 448-4815

ansel_l<rannieh(£i),usbank_corn

fit

"‘lt`you would like to bc removed ti'om this distribution list, please contact Lcollsulncr.tinallc.c(il;usbank.conti iij'u»B»-E"-~

()llrpus|)ll ndtlress: U.S. H>llll<, Consumer Fill>lllt:c Hrt)lct:r S>t|es, 4325 l 7"' Ave. S.W., it'itrgn, Nl) 58()13

.i.i f "" For Rroker Use t`)nly
( l A 2 20 (l/l

staten 1 1

Case 1: 05- --Cv 01650- REB- CBS Document 1- 3 Filed 08/25/05 USDC Co|orado Page 23 of 25
To-13037598477 12. 04 03/10/05 Pe 001

l
]Fbank

Fi'vt.' St' tx Suv,u.i: l]u: minimal <;' 10

l

 

Consumer Finance

 

 

 

 

 

 

 

 

 

 

 

 

 

eli tttteliellattls ti rates
90% 3/1
10% llutt_)e BLENDED
MTl`) SCORF, ARM _ - .
(Tnterest On]y) (_Tntel est t)nly) RATE
720+ 4.80% 6.55% 4.98%
700-719 4.90% 7 _05% 5.12%
680-699 5.00% 7.30% 5.23%
90% 5/1
a 10% lluLoc BLENDED
MTT) S(.ORF, ARM
(lntcrest l_)nly) Unme only) RATE
720 + 5.35% 6.55% 5.47%
700-719 5.55% 7.05% 5.70%
680-699 5.65% 7_3()% 5.82% '
90 % 30/15 10% HF,LQC BLENDED
MTD SC()RR FIXED (Tnterest t`)nly) RATE
720+ 5.90% 6.55% 5.97%
700-719 6.10% 7 .05% 6.20%
680-699 6.20% 7 .30% 6.31%

 

dr No Mortgage lnsurance
dr l,oW Fees
Only $274 t`or lSt Mottgag,es & $l 10 t`or 2'"l l\/iortg,ages
rt No Bump for jumbo"s
tr No Bump for interest (_)nly
tit 50% D'l`_l (Iat.io includes taxes & insuranee_)
tr Limit.ed Condilions: l.`ax t11en1 all
tr Quiek lum-times

AE: Anscl Krannich (866`) 448-4815
E-Mail: tirst.lastnamc([r_;usbank.com

\\\\\\ wmmu

LENDER

For Current Rate Sheets: www.usbank.com/brokerloans

i"or Brol\'cr L|se Only
CA ()3.07.05

EXHlBlT 1 2

*lf you would like to be removed from this distribution list, please contact [consumer.finance@usbank.com]
Address: U.S. Bank, Consumer Finance, 16 Ninth Avenue N.l Mai| Loe. EP-l\/lN-HOZFl Hopkins, MN 55343

Case 1:O5-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 24 of 25
To= 13037598477 12=07 03/31/05 re 001

l

 

Fivc Sl.\r S\‘l'vit‘c l'.?lr.u‘.ull\\'t.i ‘*"i»"

Consumer Financ:e

 

U.S. BANK HoLI)S THE “KEY” To
FINANCING YoUR NEXT PURCHASE

We have the programs for every borrower...

Prime Program:

loo% financing w/ no mortgage insurance

Up to 6% seller concessions

100% interest only available

Low fccs! .Iust 274.()0(15*) , l74.oo (flxcd and)_, llo.oo (loc 2“d)
No Esel‘ows _

FaX all documentation (minimal conditions - appraisal, title, good faith
estimatc, homeowners, income docs and purchase agreeman in most casual
it`ztsl turnaround times on prequals and underwriting '
Rales automatically locked for 45 days

No Rcscrvcs, No verification of assets in most cases

No bumps for juinbos

~YSi’ available at .40 per yield spread premitun, up lo 2 allowed

ASAP Progran\:

loo% financing W/ no mi

100% it`irsl time homebuycrs down to 600

lo()% Stath availablc, self employed & W-2 allowed down to 640
Bank statement programs W/ .25 bump to rate

Non owner occupied purchases lo 85%

Tradjtional A]ternative:

First Time homcbuycr down to 580

Call Ansel l{rannich for more info at 866-448-4815
w w w. usbank..- com/brokerloam'

 

*li` you would like to be retrieved front this distribution list, please contact [conisurller.l`inanee@ttabarlk.eorrl]
Address: U.S. litanlc1 t'.‘onsmrler Finance, I(S Ninth Avenue N., Mnil T.oc. EP-M'N-l-Tt')QF, T-Toplcins, MN 553-13

i_'il:'i~i'c')'il:'§

For Ftrol<er Use t`)nly
t`.'/\ 03.02.(`)5

l`~_`XHlBlT 1 3

Case 1:05-Cv-01650-REB-CBS Document 1-3 Filed 08/25/05 USDC Co|orado Page 25 of 25
To= 13037598477 .,- 11=36 05/11/05 .Re 001

 
 
   
 
 

   

n l N. '
‘ fire Star Smice Guaz*.¢mlcul 649

 

Consumer Finance

| LTV 3/1 I/o ARM 5/1 I/o ARM 15 yr man 30/15 man |
80% 4.75% 5.40% 5.85% 5.95%
90% 4.95% 5.50% 5.95% 6.05%
100% 6.10% 6.50% 6.60% 6.70%

*A have rates based on 720 l A//ld-score., SF'R, /-yr previous mfg /'zi.s'»tory. See rata sheetst additional
pricing down lc) 650 rrzid-.s'ec)r'e.

*100% F/'nanc/hg with /VO Mo/Tgage fnsurance El/er./
*Low-Lena'er Fees $274 on 1“ 19 and $174 on 2""3
Now - Interest 0nlyA vailable on 3/1 & 5/1 ARM?;

'%§’=E-

 

 
 

 

 

 

 

 

80% 1St Pos-ition 100% CLTV 2'“‘ Blended kate

 

 

 

Position
3/`1 ARM: 4.75% HELOC: 6.80% 5.16%
5/1 ARM: 5.40% HELOC: 6.80% 5.68%

Ratas based an a 720| Mid-.s'c,‘ora, SF`R, /-yr previous mtg l'zlsz‘(')/y, $50-/00K' HE/',(`)(`..' 2'"1A,“l'0/‘tgaga. .

Contact: Ansel Krarmich (856) 448-4815
Ansel.,krannich@usbank. com

w w w. us/)cm/c. com/b rolcer[oans

   

mm »~'u...-.

I... E N D E R
*Il`you weuld-likcto be removed from this disuibution lisl_. please eontaet |anscl.kraxmieI-\(`tb,usbank.eem|
Addrcss: U.S. Bank, Consumer Finanec, 16 Ninth Avenue N._. Mai.l Loe. EP-MN-HC)ZF, Hopkins_. MN 55343 l"er Brt)ker Ll:ze (_)n.ly
(_)5_(_)6.(_)5

txaian 141

